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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 03-60259-CR-COHN-SNOW

UNITED STATES OF AMERICA FlL`ED b§`:__' b.c.

Plaintiff,

 
     

VS. CLAREN(`.E MADDU)\'
CLERK U.S. D|ST. CT_
S.D. OF FLA. FT. LAU[)

 

STEPHEN JOHN JORDI

Defendant.
/

 

ORDER DENYING GOVERNMENT’S MOTION FOR UPWARD DEPARTURE

THIS CAUSE came before the Court on Govemment’s Motion for Upward Departure
and, being fully advised in the matter, it is

ORDERED AND ADJUDGED that the Govemment’s Motion for upward departure is

v"r

day of July' 2004.

hereby DENIED.

   
 
  

DONE AND ORDERED at Fort Lauderdale, Florida this

JAMES I. COHN
UNITE STATES DISTRICT J GE

cc: John Schlesinger, AUSA
Anne M. Lyons, AFPD
U.S. Probation

